                                                        U.S. Bankruptcy Court
                                                      Eastern District of Michigan

In re:                                                       Bankruptcy Case No. 19−52248−mar
RODNEY LAMARRE PRICE
          Debtor                                             Bankruptcy Chapter 7

                                                             Adversary Proceeding No. 19−04517−mar
FIRST INDEPENDENCE BANK
          Plaintiff
          v.
RODNEY LAMARRE PRICE
          Defendant
                                              SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall
submit a motion or answer to the complaint within 35 days of issuance.
Address of Clerk
                      Clerk, U.S. Bankruptcy Court
                      Eastern District of Michigan
                      211 West Fort Street
                      Detroit, Michigan 48226
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


Name and Address of Plaintiff's Attorney
                Joel E. Grand
                31731 Northwestern Hwy
                Suite 151
                Farmington Hills, MI 48334
If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.

IF THE DEFENDANT IS A CORPORATION, OTHER THAN THE DEBTOR OR A GOVERNMENT UNIT, NOTICE IS HEREBY GIVEN THAT
PURSUANT TO FED.R.BANK.P.7007.1, THE DEFENDANT/CORPORATION IS REQUIRED TO FILE TWO COPIES OF A CORPORATE
OWNERSHIP STATEMENT ON A FORM AVAILABLE FROM THE CLERK. [See www.mieb.uscourts.gov]




                Date Issued: December 2, 2019




                                                                             Katherine B. Gullo, Clerk of Court
                                                                             United States Bankruptcy Court



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